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                                          A national public interest law firm defending life, family and religious liberty.




                                                   October 7, 2021


By ECF
Honorable Miroslav Lovric
United States Magistrate Judge
United States District Court Northern District of New York
15 Henry Street Binghamton, New York 13901

                                          Re:      Dr. A., et al., v. Hochul, et al., 21-CV-1009 (DNH)(ML)

Dear Judge Lovric:

      I have just learned that at 2:41 PM today, the Supreme Court denied plaintiffs’ application for
emergency injunctive relief, with a 14-page dissent by Justice Gorsuch. (Justices Thomas, Alito and
Gorsuch would have granted the injunction.)

        Plaintiffs’ petition for en banc review in the Second Circuit, however, remains pending. That
being the case, the adjournment of deadlines the court has just granted based on the submission by
defense counsel remains appropriate. By the new deadline of January 17, 2022 for submission of a status
report, the parties should have received a decision on the en banc petition which would inform the parties
and the court as to further proceedings.

                                                                       Sincerely,


s/Michael G. McHale                                                     s/Christopher A. Ferrara
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c: All counsel of record (via ECF)

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